July 02, 2004


Mr. William D. Noel
8200 Wednesbury Lane, Suite 420
Houston, TX 77074-2925
Mr. Thomas E. Sheffield
3027 Marina Bay Drive, Suite 207
League City, TX 77573

RE:   Case Number:  02-0359
      Court of Appeals Number:  13-00-00734-CV
      Trial Court Number:  95-18,982

Style:      MICHAEL F. CUSACK, TRUSTEE OF THE MICHAEL F. CUSACK SPECIAL
      TRUST NO. ONE
      v.
      MIDTEXAS PIPELINE COMPANY

Dear Counsel:

      Today the Supreme Court of Texas delivered the enclosed opinion/s  and
judgment in the above  referenced  cause.   One  majority  opinion  and  one
concurring opinion issued for consolidated cases 02-0213, 02-0214,  02-0215,
02-0216, 02-0217, 02-0320, 02-0321, 02-0326, and 02-0356.  (Justice  O'Neill
and Justice Schneider not sitting.)
      Encl.
                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Nancy J. Vega, Chief Deputy Clerk

|cc:|Mr. Pat Heinemeyer   |
|   |Clerk                |
|   |Ms. Cathy Wilborn    |

